      Case 1:19-cr-00018-JRH-BKE Document 93 Filed 05/07/19 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION



UNITED STATE OF AMERICA



V.                                              INDICTMENT NO. CR119-018



HAROLD THOMPSON


                                   ORDER OF DISMISSAL


       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed hereon, the United States Attorney for the Southern District of Georgia hereby

dismisses without prejudice the above-referenced Indictment filed against the defendant.


                                             /s/Brian T. Rafferty
                                             Brian T. Rafferty
                                             Assistant United States Attorney
                                              Criminal Division Chief




                                              Patricia 0. Rhodes
                                              Branch Office Chief
                                              Assistant United States Attorney


Leave of Court is granted for the filing of the foregoing dismissal.

       This            day of May,2019.




                                             RANDA^HALL
                                              UNITEp^STATES DISTRICT COURT
                                              CHIEFJUDGE
                                             SOUTHERN DISTRICT OF GEORGIA
